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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

       BERTRUM JEAN, Individually and as          §
       the surviving father of BOTHAM             §
       SHEM JEAN, ALLISON A. JEAN,                §
       Individually and as the § surviving        §
       mother of BOTHAM SHEM JEAN, and            §
       ALLISA E. FINDLEY as the                   §
       Administrator of the Estate of             §              CIVIL ACTION NO.
       BOTHAM SHEM JEAN,                          §
                      Plaintiffs,                 §                    3:18-CV-2862-M
                                                  §
       v.                                         §
                                                  §
                                                  §
       AMBER GUYGER,                              §
                Defendant.                        §
                                            EXHIBIT 1:

                               WITNESS LIST FOR PLAINTIFFS

Witness Name         Summary of Testimony                        Depo       Probable/      Expert/Recor
                                                                            Possible
                                                                 sition                    d Custodian
1. Bertrum Jean      Father of Decedent Botham Jean, who         N/A        Probable
                     will be discussing damages.
2. Allison Jean      Mother of Decedent Botham Jean, who         N/A        Probable
                     will be discussing damages.
3. Allisa Findley    Sister of Decedent Botham Jean, who         N/A        Probable
                     will be discussing damages.
4. Jeronimo          Plaintiffs’ expert on policing practices.   N/A        Probable       Expert
   Rodriguez

5. William           Plaintiffs’ expert on policing practices    N/A        Probable       Expert
                     and policies.
   Harmening

6. Michael Maloney   Plaintiffs’ expert on scene                 N/A        Probable       Expert
                     reconstruction and investigation.
7. Stan V. Smith     Plaintiffs’ expert on economics,            N/A        Probable       Expert
                     damages, and income.
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8. Robyn Carr          Dallas Police Department Investigator      Yes     Probable       Records
                       of the scene of the incident who took
   Williams                                                                              Custodian
                       pictures and processed evidence.
9. Officer Keenan      Dallas Police Department Officer           N/A     Probable
                       responding to the shooting who
   Blair #11183
                       provides CPR and moves Mr. Jean,
                       describes training of Dallas Police
                       Officers, and provides his recollection
                       of what he saw when he arrived on
                       scene.
10. Officer Michael    Dallas Police Department Officer           N/A     Probable
                       responding to the shooting, who
   Lee #10707
                       provides his recollection of what he
                       saw when he arrived on scene and
                       observations of the conditions.
11. Dr. Todd Patten    Therapist providing support and care to    N/A     Probable       Uncontrolled
                       Allisa Findley.
                                                                                         expert.
12. Dr. Chester Gwin   Medical examiner who performed             N/A     Probable       Uncontrolled
                       autopsy in this matter and will describe
                                                                                         expert.
                       Botham Jean’s injuries, as well as the
                       cause and manner of death.
13. Alyssa Kinsey      Next door neighbor to Botham Jean,         N/A     Probable
                       who heard the incident occur and
                       provides testimony of what she
                       witnessed during the incident.
14. Paramedic John     City of Dallas Paramedic who provided      N/A     Probable
                       emergency care to Botham Jean and
   Fairleigh
                       observed his pain and suffering.
15. Melodi Parker      Counselor providing support and care       N/A     Probable       Uncontrolled
                       to Allisa Findley.
                                                                                         expert.
16. Grace Taylor       Counselor providing support and care       N/A     Probable       Uncontrolled
                       to Allisa Findley.
                                                                                         expert.
17. Ms. Francisca      Counselor providing support and care       N/A     Probable       Uncontrolled
                       to Allison Jean.
   Plummer BACP                                                                          expert.

18. Pastor Samuel L.   Pastor of Botham Jean who will             N/A     Probable
                       provide damages information about the
   Berry
                       decedent.
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19. Dr. Jennifer       Treating physician after the incident for N/A      Probable            Uncontrolled
                       Botham Jean at Baylor Hospital.
   Mooney                                                                                     expert.

20. Tim Ryan           Price Waterhouse Cooper executive          N/A     Probable.
                       who worked with Botham Jean and will
                       testify to his salary, income, and
                       working abilities and skills.
21. Dispatcher Karla   Dallas Police Department Dispatcher        N/A     Possible/           Record
                       who received the 911 call by Amber                 Designating
   Rivera                                                                                     Custodian
                       Guyger who can lay foundation for the              Deposition.
                       911 call and recall her observations of
                       the call.
22. Det. Eduardo       Dallas Police Department Detective         Yes     Possible/
                       called to the scene to investigate. Will           Designating
   Ibarra
                       describe the investigative steps taken             Deposition.
                       after the shooting.
23. Julia Wayland      Dallas Police Department crime scene       Yes     Possible/           Record
                       investigator assigned to incident. Lays            Designating
                                                                                              Custodian
                       foundation for crime scene sketch and              Deposition.
                       other documents, responded to
                       investigate the incident as an officer
                       involved shooting.
24. Amber Guyger       Dallas Police Department Police            N/A     Possible/
                       Officer who discharged her firearm                 Interview and
                       striking Botham Jean. Plaintiffs are               Criminal trial
                       likely to present her testimony through            Transcript
                       her previous statements and criminal
                       trial testimony, on her recollection of
                       the incident.
25. Lt. Michael J.     Dallas Police Department officer and       Yes     Possible/Design
                       Union Representative for Amber                     ating
   Mata
                       Guyger after the shooting incident.                Deposition.

26. Officer Tu Minh    Dallas Police Department officer who       Yes     Possible/Design     Records
                       arrived among the first on scene, gave             ating
   Nguyen                                                                                     Custodian for
                       care to Botham Jean, and used towels               Deposition
                       to stop the bleeding.                                                  Body Worn
                                                                                              Camera
27. Officer Ryan       Dallas Police Department officer on        Yes     Possible/           Records
                       scene immediately after the shooting,              Designating
   Barnett                                                                                    Custodian for
                       who canvassed for witnesses and had                Deposition.
                       his Body Worn Camera on.                                               Body Worn
                                                                                              Camera
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28. Sgt. Breanna        Dallas Police Department Investigator     Yes     Possible/
                        and highest ranking officer for the               Designating
   Valentine
                        investigation into the scene of the               Deposition.
                        incident.
29. Carmen Fletcher     Dallas Police Department Investigator     Yes     Possible/
                        of the scene of the incident who took             Designating
                        pictures and processed evidence.                  Deposition.
30. Sgt. Robert         Dallas Police Department officer who      N/A     Possible
                        arrived on scene and discusses Dallas
   Watson
                        Police Department General Orders and
                        Training.
31. April Kendrick      Dallas Police Department employee         N/A     Possible         Records
                        who performed Firearms analysis
                                                                                           Custodian for
                        demonstrating Amber Guyger’s firearm
                        worked and matching firearms materials                             Ex. 10.
                        found on scene.
32. Officer Stephen     Dallas Police Department officer who      N/A     Possible
                        arrived on scene and discusses Dallas
   Cleary
                        Police Department General Orders and
                        Training and his observations on scene.
33. Jacqueline          Counselor providing support and care to   N/A     Probable
                        Allisa Findley.
   Rodgers

34. Dr. Scott Kurpiel   Treating physician after the incident for N/A     Possible         Uncontrolled
                        Botham Jean at Baylor Hospital.
                                                                                           expert.
35. Major Chuck         Dallas Police Department officer who      N/A     Possible
                        arrived on scene and discusses Dallas
   Young
                        Police Department General Orders and
                        Training and his observations on scene.
36. Erick Jenkins, RN   Treating nurse after the incident for     N/A     Possible         Uncontrolled
                        Botham Jean at Baylor Hospital.
                                                                                           expert.
